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Pro Se 1 (Rev. 09/16) Complaint for a Civil Case



                                        United States District Court
                                                                         for the
                                                                District of Oregon


                         JEFFREY HAUN                                        )     Case No.
                                                                             )                    (to be filled in by the Clerk’s Office)
                                                                             )
                              Plaintijffs)                                   )
(Write the full name of each plaintiff who is filing this complaint.               Jury Trial: (check one)          Yes    |    |No
                                                                             )
If the names of all the plaintiffs cannot fit in the space above,
please write "see attached" in the space and attach an additional            )
page with thefull list ofnames.)                                             )
                                  -V-                                        )
                                                                             )
         JPMORGAN CHASE BANK, N.A.; MERS ;
           CHASE FULFILLMENT SERVICES,                                       )
              and DOES 1 to 50, Inclusive                                    )
                                                                             )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the             )
names of all the defendants cannotfit in the space above, please             )
write "see attached" in the space and attach an additional page              )
with the full list of names.)



                                                   COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   JEFFREY HAUN
                                Street Address                         41709 STAYTON SCIO RD., S.E.
                                City and County                        STAYTON, LINN COUNTY
                                State and Zip Code                     Oregon, 97383
                                Telephone Number                       760-974-9505
                                E-mail Address                         N/A


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a govemment agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed!




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                     Defendant No. 1
                                Name                          JPMQRGAN CHASE BANK, N.A.
                                Job or Title (if known)       N/A
                                Street Address                270 PARK AVENUE
                                City and County               NEW YORK, BOROUGH OF MANHATTAN
                                State and Zip Code            NEW YORK, 10017
                                Telephone Number              800-935-9935
                                E-mail Address (if known)     N/A


                     Defendant No. 2
                                Name                          CHASE FULFILLMENT SERVICES
                                Job or Title (ifknown)        N/A
                                Street Address                270 PARK AVENUE
                                City and County               NEW YORK, BOROUGH OF MANHATTAN
                                State and Zip Code            NEW YORK, 10017
                                Telephone Number              800-935-9935
                                E-mail Address (ifknown)      N/A


                     Defendant No. 3
                                Name                          MORTGAGE ELECTRONIC REGISTRATION SERVICES
                                Job or Title (ifknown)        N/A
                                Street Address                1818 LIBRARY STREET, # 300
                                City and County               RESTON, COUNTY OF FAIRFAX
                                State and Zip Code            VIRGINIA, 20191
                                Telephone Number              800-646-6377
                                E-mail Address (ifknown)      N/A


                     Defendant No. 4
                                Name                          N/A
                                Job or Title (ifknown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Nmuber
                                E-mail Address ({(known)



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n.        Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  1^1 Federal question                                  Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.

                      28 use 1331 - 1446, et seq.



          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                a.          If the plaintiff is an individual
                                            The plaintiff, (name) JEFFREY HAUN                                       is a citizen of the
                                            State of (name) OREGON


                                b.         If the plaintiff is a corporation
                                            The plaintiff, (name) JPMORGAN CHASE BANK, N.A.                         , is incorporated
                                            under the laws of the State of (name)    NEW YORK
                                            and has its principal place of business in the State of (name)
                                             NEW YORK

                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same information for each additional plaintiff.)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name) N/A                                               , is a citizen of
                                            the State of (name)                                              . Or is a citizen of
                                            (foreign nation)


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                                b.         If the defendant is a corporation
                                           The defendant, (name) CHASE FULFILLMENT SERVICES                    is incorporated under
                                           the laws of the State of (name)     NEW YORK                                , and has its
                                           principal place of business in the State of (name)      NEW YORK
                                           Or is incorporated under the laws of (foreign nation)    NEW YORK
                                           and has its principal place of business in (name)    NEW YORK

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain)-.
                                 PER 28 use, 1331-1446, INCLUDING, BUT NOT LIMITED TO, INDIVIDUAL CIVIL RIGHTS
                                 PERTAINING TO THE CONSTITUTION OF THE UNITED STATES, FEDERAL JURISDICTION
                                 IS APPLICABLE AND JUSTIFIED AS THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
                                 ($ 500,000.00 ).



III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
          Plaintiffs Denial of Right to Due Process and constitutional rights per improper mortgage company procedures,
          both servicing and otherwise, and including, but not limited to, improper noticing for mortgage note and deed
          activities (I.e., divergent paths for both). This action cites: Fraud, Negligence, and Misrepresentation attributed
          to Defendants' multiple violations of ignoring proper loan procedures (See attached exhibits).




IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wi'ongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          Plaintiff re-alleges, and incorporates by reference, all preceding allegations implemented in this Complaint as fully
          set forth herein. Defendants' claim estate or interest in the real property described in this Complaint adverse to
          that of Plaintiff, and absent a valid trustee's deed, now set forth as an Absentee Trustee's Deed, as the existence
          of any valid trustee's deed which could benefit Defendants would be null and void, and in favor of Plaintiff, thereby
          effecting the necessary cancellation of said deed as Defendants' claims are without any right, and which Plaintiff
          now requests; E.g., With no valid trustee's deed. Defendant's have no legal right, title, or

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         interest in the real property which is the subject matter of this action, and is more commonly known as:
         41709 Stayton Scio Rd., S.E., Stayton, OR, 97383. Accordingly, Plaintiff also seeks monetary and punitive
         damages in the amount of $ 700,000.00.




V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          umiecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:              11/11/2020


                      Signature of Plaintiff
                     Printed Name of Plaintiff                    UN

          B.          For Attorneys

                      Date of signing:             11/11/2020


                      Signature of Attorney         N/A
                      Printed Name of Attorney      PLAINTIFF, IN PRO PER
                      Bar Number
                      Name of Law Firm
                      Street Address
                      State and Zip Code
                      Telephone Number
                      E-mail Address




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